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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                       Case No. 20-cr-20318-1

v.                                            HON. STEPHEN J. MURPHY, III

RICARDO ZAMORA,

            Defendant.
__________________________________/

     STIPULATION TO ADJOURN AND FIND OF EXCLUDABLE DELAY

      Through their respective counsel, the parties stipulate and agree to the

adjournment of the pending dates in this case. The parties stipulate and agree to

move the plea cut-off date, from October 19, 2021, until March 3, 2022, and trial

date from November 16, 2021, at 9:00 AM, until March 29, 2022. The parties agree

and stipulate that additional time will be necessary to continue to explore the

possibility of a negotiated resolution of the charges and prepare for trial. The

parties agree that plea negotiations are "other proceedings concerning the

defendant" within the meaning of 18 U.S.C. § 3161(h)(1), see United States v.

Dunbar, 357 F.3d 582, 593 (6th Cir. 2004); United States v. Bowers, 834 F.2d 607,

609-10 (6th Cir. 1987) (per curiam), and that, therefore, this time should be

excluded in calculating the time within which the defendant must be brought to

trial under the Speedy Trial Act, 18 U.S.C. § 3161(c)(1).
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      Pursuant to 18 U.S.C. § 3161(h)(7)(A), the parties stipulate that the extended

time period (from the date of the filing of this stipulation and order, to the new trial

date) shall constitute excludable delay and that the ends of justice served by this

delay outweigh the best interests of the defendant and the public in a speedy trial.

Defendants also waive their right to a speedy trial under the Interstate Agreement

on Detainers and agree that the continuance requested is reasonable and necessary.

      The parties request that the court make a specific finding that the ends of

justice served by such a continuance outweigh the interest of the public and the

Defendants in a speedy trial because failure to grant such a continuance would

result in a miscarriage of justice.

IT IS SO STIPULATED.

Respectfully submitted,

SAIMA MOHSIN,
Acting United States Attorney

s/Robert Jerome White                            s/Elias J. Escobedo (with consent)
Robert Jerome White                              Elias J. Escobedo, Jr. PLLC
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Dated: September 27, 2021
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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                        Case No. 20-cr-20318-1

v.                                             HON. STEPHEN J. MURPHY, III

RICARDO ZAMORA,

            Defendant.
__________________________________/


     ORDER ADJOURNING DATES AND FINDING EXCLUDABLE DELAY

       This matter having come before the Court upon the stipulation of the parties,

the Court finds that the period from the current trial date of November 16, 2021, to

the new trial date on March 29, 2022, shall be excluded in calculating the time

within which the defendant has a right to a speedy and public trial pursuant to the

Speedy Trial Act, 18 U.S.C. § 3161(h). The Court further finds that such a delay is

necessary to permit the parties to continue to explore the possibility of a negotiated

resolution of the charges, which is considered any proceeding concerning the

defendants pursuant to 18 U.S.C. §§ 3161(h)(1) and (7).

       IT IS ORDERED that pursuant to the Speedy Trial Act, 18 U.S.C. § 3161,

and in consideration of the factors listed in sections 3161(h)(1) and 3161(h)(7), the

ends of justice are best served by granting a continuance in this case, and these

ends outweigh the interest of the public and the defendant in a speedy and public
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trial and that any delay occasioned by this adjournment shall be deemed excludable

under the Speedy Trial Act.

      IT IS FURTHER ORDERED that the following dates will apply:

        Final pretrial conference/plea cut-off: March 3, 2022 at 10:00 a.m.

        Jury Trial: March 29, 2022 at 9:00 a.m.

      SO ORDERED.

                                      s/Stephen J. Murphy, III
                                      STEPHEN J. MURPHY, III
Dated: September 28, 2021             United States District Court Judge
